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                                                                     November 22, 2024


VIA ECF
Honorable Michael A. Hammer
United States District Court for the
  District of New Jersey
Martin Luther King Courthouse
50 Walnut Street Room 2C
Newark, NJ 07101

       Re:     United States v. Matthew Goettsche, et al., 19-CR-877 (CCC)
               Proposed Modification of Pretrial Release Order

Dear Judge Hammer:

        Please accept this letter in lieu of a more formal motion on behalf of Defendant Matthew
Goettsche. We respectfully move to modify his bail conditions to allow Mr. Goettsche to travel
to the Southern District of New York in December 2024 for in-person meetings with the
undersigned counsel. Mr. Goettsche shall provide a detailed itinerary of travel and hotel
accommodations to Pretrial Services at least two weeks in advance of travel. The Court’s Order
Setting Conditions of Release (dkt. 171), in pertinent part, restricts his travel to the District of
Colorado and the District of New Jersey. The Court previously allowed meetings with counsel
in New York (dkts. 224, 274, 283). This proposed modification for travel to New York would be
in addition to, and not in place of, all other bail conditions ordered or modified by the Court.

       Pretrial Services and the government, through AUSA Anthony Torntore, each consent to
the proposed modification for travel to the Southern District of New York. Thank you in
advance.


                                                             Respectfully submitted,

                                                             /s/ Rodney Villazor

                                                             Rodney Villazor, Esq.
                                                             CLARK SMITH VILLAZOR LLP
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cc:   Matthew Menchel, Esq.
      Sean Buckley, Esq.
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      U.S. Pretrial Services Officer Troy Ruplinger (via e-mail)
